 Case 8:20-cv-02532-WFJ-AEP Document 1 Filed 10/29/20 Page 1 of 11 PageID 1




                         UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

ERIC G. WALKER,

               Plaintiff,

v.                                                    CASE NO.:

OFFICER ANTONIS ANTONIOU,
individually; and
CITY OF TEMPLE TERRACE,

            Defendants.
_________________________________/

                    COMPLAINT AND REQUEST FOR A JURY TRIAL

       The Plaintiff, Eric G. Walker, by and through his undersigned counsel, hereby sues the

Defendants, Officer Antonis Antoniou and the City of Temple Terrace and in support alleges:

                                       INTRODUCTION

       1.      This is an action brought by a United States citizen, who at the time of the

incident was a resident of Tampa, Florida, and who was the victim of false arrest, malicious

prosecution, and an illegal search by Officer Antonis Antoniou.

       2.      Plaintiff alleges violation of his civil rights under the provisions of 42 U.S.C. §§

1983 and 1988 and the Fourth Amendment to the United States Constitution. Plaintiff also

alleges that Officer Antonis Antoniou committed the state common law torts of false arrest and

malicious prosecution. Plaintiff seeks compensatory relief, punitive damages, and costs,

including attorneys’ fees.




                                            Page 1 of 11
 Case 8:20-cv-02532-WFJ-AEP Document 1 Filed 10/29/20 Page 2 of 11 PageID 2




                                JURISDICTION AND VENUE

       3.      This action arises under the provisions of 42 U.S.C. §§ 1983 & 1988, and Florida

statutory and common law. This Court has jurisdiction of this action pursuant to the provisions

of 28 U.S.C. §§ 1331 and 1343, and supplemental jurisdiction of the state law claim pursuant to

28 U.S.C. § 1367.

       4.      All incidents material to this action occurred in Hillsborough County, Florida and

Defendants were employed in Hillsborough County, Florida at the time of the incident. Venue is

proper in this Court pursuant to Local Rule 3.1.

       5.      Plaintiff, Eric G. Walker, timely filed the notice of claim pursuant to Florida

Statute § 768.28, on September 26, 2017, regarding supplemental state tort claims against the

Defendants, and has provided Defendants the required amount of time to resolve the claim.

There is no administrative exhaustion requirement regarding Plaintiff’s civil rights claims under

42 U.S.C. § 1983.

                                           PARTIES

       6.      Plaintiff, Eric G. Walker, was an adult male resident of the State of Florida at all

times relevant to this Complaint.

       7.      The Defendant, Officer Antonis Antoniou, was at all times relevant to this

Complaint duly appointed and acting as an officer of the Temple Terrace Police Department,

acting under color of law, to wit, under color of statutes, ordinances, regulations, policies,

customs and usages of the State of Florida and/or the Temple Terrace Police Department.

Defendant, Officer Antoniou, is sued in his individual capacity.

       8.      The Defendant, CITY OF TEMPLE TERRACE, is a municipality chartered

through the State of Florida which, among its other functions, operates and maintains a law

enforcement agency known as the Tampa Police Department. Defendant, CITY OF TEMPLE

                                            Page 2 of 11
 Case 8:20-cv-02532-WFJ-AEP Document 1 Filed 10/29/20 Page 3 of 11 PageID 3




TERRACE, receives federal funds. Defendant, CITY OF TEMPLE TERRACE, by and though

its officials and employees is under a duty to run its policing activities in a lawful manner so as

to preserve the peace of the City of Temple Terrace and to preserve to its citizens the rights,

privileges and immunities guaranteed and secured to them by the constitutions and the laws of

the United States and the State of Florida. The City of Temple Terrace does not have immunity

for violating the civil rights of citizens and has waived sovereign immunity for the negligent acts,

omissions, or intentional torts of its employees arising out of and in the course and scope of their

employment complained of herein pursuant to Florida Statutes, § 768.28.

        9.      Each and all of the acts of the Defendants and other members of the Temple

Terrace Police Department involved in this incident were performed under the color and pretense

of the constitutions, statutes, ordinances, regulations, customs and usages of the United States of

America and the State of Florida, under the color of law and by virtue of their authority as law

enforcement officers for the Temple Terrace Police Department. At all times, Defendant was

engaged in conduct that was the proximate cause of the violations of Plaintiff’s federally

protected rights, as more particularized herein.

        10.     The incident which gives rise to this cause of action occurred within this

jurisdiction and within the applicable statute of limitations and this Honorable Court has

jurisdiction.



                 FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

        11.     On November 1, 2016, Officer Antoniou performed a traffic stop on Mr. Walker

for an expired tag near the intersection of Fowler Avenue and 53rd Street in Tampa, Florida.

        12.     While Officer Antoniou processed the traffic ticket, he called for a K-9 unit.




                                             Page 3 of 11
 Case 8:20-cv-02532-WFJ-AEP Document 1 Filed 10/29/20 Page 4 of 11 PageID 4




       13.     Officer Antoniou did not have facts supporting reasonable suspicion or probable

cause of a crime.

       14.     Mr. Walker did not have a warrant for his arrest, and Officer Antoniou did not

attempt to get a search warrant for Mr. Walker’s car.

       15.     Approximately ten minutes later, Officer Richard Scilarbo and K-9 Aramis

arrived.

       16.     The officers ordered Mr. Walker out of the vehicle while Officer Scilarbo and K-9

Aramis conducted a dog sniff search of Mr. Walker’s vehicle.

       17.     K-9 Aramis allegedly alerted to the front driver and front passenger side of the

passenger compartment of the vehicle, but not the trunk.

       18.     Officer Antoniou then searched the entire vehicle including the passenger

compartment and the trunk without a warrant.

       19.     In the trunk and inside of a backpack, Officer Antoniou found a prescription pill

bottle with the name of Annie Lang.

       20.     Annie Lang is Mr. Walker’s mother and he had power of attorney for her. Often,

Mr. Walker took his mother to her doctors’ appointments, which required bringing her

medications to inform her doctors what medications she was prescribed. Mr. Walker told the

officers this information.

       21.     The prescription pills were allegedly oxycodone, which were indeed prescribed to

Ms. Lang.

       22.     Mr. Walker was arrested by Officer Antoniou for possession of a controlled

substance and possession of a drug without a prescription.

       23.     On February 2, 2017, Mr. Walker, through the Public Defender’s Office, filed a

Motion to Suppress.

                                           Page 4 of 11
 Case 8:20-cv-02532-WFJ-AEP Document 1 Filed 10/29/20 Page 5 of 11 PageID 5




          24.    On or about February 20, 2017, the State Attorney’s Office entered a nolle

prosequi dismissing both charges.

          25.    Mr. Walker spent 108 days in custody at the Hillsborough County Jail because of

the arrest.



                        COUNT I – 42 U.S.C. § 1983 FALSE ARREST CLAIM
                         AGAINST DEFENDANT, OFFICER ANTONIOU

          26.    All allegations of paragraphs 1 through 25 are re-alleged in full and adopted

herein.

          27.    Plaintiff was unlawfully seized by Defendant, Officer Antoniou, through the

intentional confinement of Plaintiff when Defendant placed him under arrest.

          28.    The warrantless arrest of Plaintiff without arguable probable cause violated

Plaintiff’s Fourth Amendment rights.

          29.    The facts and circumstances within Defendant’s knowledge, assuming he had

reasonably trustworthy information, would not cause a prudent officer to believe, under the

circumstances shown, that Plaintiff had committed or was committing a criminal offense.

          30.    A reasonable officer in the same circumstances and possessing the same

knowledge as Defendant could not have believed that probable cause existed to arrest Plaintiff.

          31.    The unlawful seizure caused the Plaintiff to suffer mental anguish, loss of

capacity for the enjoyment of life, loss of the ability to earn money, humiliation, embarrassment,

shame, fright, disgrace, injury to her feelings, and loss of reputation. Plaintiff claims and is

entitled to punitive damages for the conduct alleged.


                COUNT II – STATE LAW FALSE ARREST/ FALSE IMPRISONMENT
                               AGAINST OFFICER ANTONIOU



                                            Page 5 of 11
 Case 8:20-cv-02532-WFJ-AEP Document 1 Filed 10/29/20 Page 6 of 11 PageID 6




          32.    All allegations of paragraphs1 through 25 are re-alleged in full and adopted

herein.

          33.    At all times relevant herein, Defendant, Officer Antoniou, acted with the intention

of confining the Plaintiff, Eric G. Walker, within fixed boundaries. The acts directly or indirectly

resulted in confinement, and the Plaintiff was conscious of the confinement.

          34.    Defendant acted in bad faith and with malicious purpose as the Plaintiff, Eric G.

Walker, had committed no illegal acts.

          35.    The Defendant’s actions were unreasonable and unwarranted under the

circumstances.

          36.    As a further direct and proximate result of the acts, omissions, and conduct of the

Defendant, Officer Antoniou, the Plaintiff suffered from bodily injury and resulting pain and

suffering, mental anguish, loss of capacity for the enjoyment of life, and loss of the ability to

earn money. The nature of the count supports a claim for punitive damages in addition to

compensatory damages.


          COUNT III – STATE LAW CLAIM FALSE ARREST/ FALSE IMPRISONMENT
             AGAINST CITY OF TEMPLE TERRACE – VICARIOUS LIABILITY
                                (COURSE AND SCOPE)

          37.    All allegations of paragraphs 1 through 25 are re-alleged in full and adopted

herein.

          38.    Defendant, Officer Antoniou’s, actions in holding Plaintiff beyond the scope of

her consent and against her will, without probable cause, without process or authority of law,

constitute wrongful, unlawful false imprisonment, which is actionable against Defendant, City of

Temple Terrace.




                                             Page 6 of 11
 Case 8:20-cv-02532-WFJ-AEP Document 1 Filed 10/29/20 Page 7 of 11 PageID 7




          39.   The Defendant, Officer Antoniou, knew or had the opportunity to know, and

should have known, the false imprisonment of Plaintiff was without legal justification.

          40.   The actions of Defendant, Officer Antoniou, as described in the Complaint were

performed in the course and scope of employment with the Temple Terrace Police Department

and without bad faith, malicious purpose and not in a manner exhibiting wanton and willful

disregard of human rights, safety and property.

          41.   As a direct and proximate result of the acts of Defendant, Officer Antoniou,

Plaintiff was arrested, detained, confined in jail and suffered from or incurred injury to her

reputation and health; shame; humiliation and embarrassment; mental anguish; emotional

distress; hurt feelings; loss of enjoyment of life; cost of bond and other related expenses; lost

earnings, business and time; and, the loss of ability to earn money in the future. The foregoing

losses, damages, and injuries are either permanent or continuing in nature and Plaintiff will

continue to suffer the same in the future.

          42.   Defendant, Officer Antoniou’s, conduct is actionable against Defendant, City of

Temple Terrace, pursuant to § 768.28, Fla. Stat. (2015).

                COUNT IV – 42 U.S.C. § 1983 MALICIOUS PROSECUTION
                   AGAINST DEFENDANT, OFFICER ANTONIOU

          43.   All allegations of paragraphs 1 through 25 are re-alleged in full and adopted

herein.

          44.   As a result of the actions taken by Defendant, Officer Antoniou, original judicial

proceeding against present plaintiff was commenced and/or continued.

          45.   Defendant, Officer Antoniou, failed to consider potentially exculpatory

information and refused to investigate impartially. Due to his improper actions, the Judge was




                                             Page 7 of 11
 Case 8:20-cv-02532-WFJ-AEP Document 1 Filed 10/29/20 Page 8 of 11 PageID 8




presented with false and misleading information. The criminal prosecution was a natural

consequence of the defendant’s account of the actions of the surrounding circumstances.

          46.   Defendant, Officer Antoniou, was the legal cause of original proceeding.

          47.   The original proceedings constituted bona fide termination of that proceeding in

favor of the Plaintiff. Ultimately, both counts were Nolle Prossed by the State Attorney’s Office

on or about February 20, 2017.

          48.   There was no probable cause for the original proceeding.

          49.   The actions of Defendant, Officer Antoniou, were done with malice.

          50.   Plaintiff, Eric G. Walker, suffered damages as result of the false arrest.

            COUNT V – STATE LAW CLAIM OF MALICIOUS PROSECUTION
             AGAINST DEFENDANT, OFFICER ANTONIOU, INDIVIDUALLY

          51.   All allegations of paragraphs 1 through 25 are re-alleged in full and adopted

herein.

          52.   As a result of the actions taken by Defendant, Officer Antoniou, original judicial

proceeding against present plaintiff was commenced and/or continued.

          53.   Defendant, Officer Antoniou, failed to consider potentially exculpatory

information and refused to investigate impartially. Due to his improper actions, the Judge was

presented with false and misleading information. The criminal prosecution was a natural

consequence of the defendant’s account of the actions of Plaintiff, Eric G. Walker, and its

surrounding circumstances.

          54.   Defendant, Officer Antoniou, was the legal cause of original proceeding.

          55.   The original proceedings constituted bona fide termination of that proceeding in

favor of the Plaintiff. Ultimately, both charges were Nolle Prossed by the State Attorney’s Office

on or about February 20, 2017.



                                             Page 8 of 11
 Case 8:20-cv-02532-WFJ-AEP Document 1 Filed 10/29/20 Page 9 of 11 PageID 9




          56.     There was no probable cause for the original proceeding.

          57.     The actions of Defendant, Officer Antoniou, were done with malice.

          58.     Plaintiff, Eric G. Walker, suffered damages as result of the false arrest and

malicious prosecution.

                COUNT VI – 42 U.S.C. § 1983 UNREASONABLE SEARCH AND SEIZURE
                          AGAINST DEFENDANT, OFFICER ANTONIOU

          59.     All allegations of paragraphs 1 through 25 are re-alleged in full and adopted

herein.

          60.     Plaintiff and his vehicle were unlawfully searched and seized by Defendant,

Officer Antoniou.

          61.     The warrantless search and seizure of Plaintiff and his vehicle without arguable

probable cause violated Plaintiff’s Fourth Amendment rights, or in the alternative, Defendant

detained Plaintiff for an unreasonable amount of time.

          62.     The facts and circumstances within Defendant’s knowledge, assuming he had

reasonably trustworthy information, would not cause a prudent officer to believe, under the

circumstances shown, that there was a justifiable basis to detain, search, and seize Plaintiff and

his vehicle.

          63.     A reasonable officer in the same circumstances and possessing the same

knowledge as Defendant could not have believed that probable cause existed to search Plaintiff

and his vehicle or that Defendant detained Plaintiff for a reasonable amount of time.

          64.     The illegal search and seizure led to the arrest of Plaintiff.

          65.     The unlawful seizure caused the Plaintiff to suffer mental anguish, loss of

capacity for the enjoyment of life, loss of the ability to earn money, humiliation, embarrassment,




                                                Page 9 of 11
Case 8:20-cv-02532-WFJ-AEP Document 1 Filed 10/29/20 Page 10 of 11 PageID 10




shame, fright, disgrace, injury to his feelings, and loss of reputation. Plaintiff claims and is

entitled to punitive damages for the conduct alleged.

                                             DAMAGES

        66.     The Plaintiff incorporates by reference all allegations contained in all paragraphs

of this Complaint, as if fully set forth herein.

        67.     As a direct and proximate result of the aforementioned actions and omissions of

the Defendants, Plaintiff, Eric G. Walker’s, constitutional rights were violated and Plaintiff, Eric

G. Walker, suffered injuries and damages. Plaintiff, Eric G. Walker, seeks recovery from the

Defendants of all damages to which she may be entitled under federal law for the injuries and

damages to Plaintiff, Eric G. Walker, and which include, but are not limited to, the following:



                a.      Emotional Pain and Suffering of a past, present and future nature;

                b.      Loss of Enjoyment of Life of a past, present and future nature;

                c.      Loss of Earning Capacity of a past, present and future nature;

                d.      Punitive damages for Counts I, IV, and VI;

                e.      Pre- and Post-Judgment Interest as to Officer Antoniou;

                f.      Post-Judgment as to the City;

                g.      Statutory and Discretionary Costs;

                h.      Attorney’s fees where permitted by 42 USC § 1988 or state law;

                i.      All such further relief, both general and specific, to which she may be
                        entitled under the premises.




                                              Page 10 of 11
Case 8:20-cv-02532-WFJ-AEP Document 1 Filed 10/29/20 Page 11 of 11 PageID 11




                               REQUEST FOR JURY TRIAL

     Plaintiff, Eric G. Walker, requests a trial by jury on all issues so triable.

     RESPECTFULLY SUBMITTED this 28th day of October 2020.


                                                     MICHAEL P. MADDUX, P.A.


                                                     s/ Michael P. Maddux
                                                     Michael P. Maddux, Esquire
                                                     Florida Bar Number: 964212
                                                     Trial Counsel for Plaintiff
                                                     2102 West Cleveland Street
                                                     Tampa, Florida 33606
                                                     Telephone: (813) 253-3363
                                                     Facsimile: (813) 253-2553
                                                     E-Mail: mmaddux@madduxattorneys.com




                                           Page 11 of 11
